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Lon A. Jenkins (4060)
Tami Gadd (12517)
MaryAnn Bride (13146)
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OFFICE OF THE CHAPTER 13 TRUSTEE
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                         UNITED STATES BANKRUPTCY COURT
                               FOR THE District of Utah

IN RE:                                               CASE: 24-21689

Corbin William Archer                                CHAPTER 13
Lisa Ann Collet Archer
                                                     HON. JOEL T. MARKER
Debtors                                              Confirmation Hearing:June 18, 2024


  ORDER CONTINUING CONFIRMATION HEARING FOLLOWING CONTESTED
                     CONFIRMATION HEARING
   A hearing on confirmation of the Chapter 13 plan came before this Court on June 18, 2024
10:00 am. The Standing Chapter 13 Trustee appeared personally or by counsel and other parties,
if any, made their appearances on the record. Based on the representations of counsel and the
Trustee, and having determined that all requirements for confirmation have NOT been met, the
Court hereby ORDERS:
   The hearing on confirmation is continued to August 20, 2024 at 10:00 AM.

   IT IS FURTHER ORDERED that, if the following conditions are not satisfied within the
time limits set forth below, confirmation of the Debtor's plan will be denied and the case will be
dismissed without further notice or hearing upon declaration by the Trustee:
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   Debtor to provide to the Trustee or file with the Court the following documents by July 30,
2024 or r the Trustee may file a Declaration of Non-Compliance and this case will be dismissed
without further notice or hearing:

a) Profit and Loss statements for all self-employment income earned during the sixty (60) days
prior to the petition date.
b) Business questionnaire for a business operated during the sixty (60) days prior to the petition
date and all related documents.
c) Statements from their financial accounts with Key Bank, Venmo, Acorn, and PayPal for the
period that covers the petition date.
d) File an itemized, separate budget disclosing the income and expenses related to the operation
of a business.
e) Provide copies of all State and Federal tax returns filed post-petition, including 2019, 2020,
2021, 2022, and 2023.
f) File amended Statement of Financial Affairs, Interrogatory Nos. 4, 5, 18, 27, and 28.
g) File a Declaration of Filed Tax Returns.
h) File amended Schedule A/B to include second account with Key Bank and all business
interests.
i) File an Amended Schedule D to provide an address for Greg Dudey.
J) Provide all documents relating to the transfer of real property at 3861 E. Evelyn Drive to Greg
Dudey including any appraisal used.
k) Provide formal accounting of all proceeds of loan with Gret Dudey.
l) Provide all documents relating to the transfer or assignment of interest in the real property to
RSVP Holdings.
m) Provide copy of Court Docket sheet for the RSVP Holdings lawsuit.
n) File amended Schedule E/F to include amounts of debt owed.
o) Provide evidence as to the loan balance as of the petition date.
p) File amended plan to include step payment (if applicable), include current installment payment
in Part 3.1 as listed on Schedule J, add treatment of Chrysler Capital, and provide tax return
language.
q) Provide the book end pay advices or evidence of income used to calculate the Form 122C-1.


                                 CERTIFICATE OF SERVICE

           The undersigned hereby certifies that a true and correct copy of the foregoing Order
Continuing Confirmation Hearing was served upon all persons entitled to receive notice in this
case via ECF notification or by U.S. Mail to the following parties on June 18, 2024.

 STEVEN M. ROGERS, ECF Notification
 AARON WAITE, UTAH STATE TAX COMMISSION, ECF NOTIFICATION
 JANCI LAWS, NATIONSTAR MORTGAGE LLC, ECF NOTIFICATION
 BRIAN ROTHSCHILD, GLASS AMERICA MIDWEST, LLC, ECF NOTIFICATION
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MARK ROSE, GLASS MECHANIX SOLUTIONS, INC, ECF NOTIFICATION
                                      /s/ Shanna Vagana

                         DESIGNATION OF PARTIES TO BE SERVED
 Corbin William Archer & Lisa Ann Collet Archer , 3861 E Evelyn Drive, Salt Lake City, UT 84124




STEVEN M. ROGERS, ECF Notification

LON A. JENKINS, CHAPTER 13 TRUSTEE, ECF NOTIFICATION
AARON WAITE, UTAH STATE TAX COMMISSION, ECF NOTIFICATION
JANCI LAWS, NATIONSTAR MORTGAGE LLC, ECF NOTIFICATION
BRIAN ROTHSCHILD, GLASS AMERICA MIDWEST, LLC, ECF NOTIFICATION
MARK ROSE, GLASS MECHANIX SOLUTIONS, INC, ECF NOTIFICATION
